Case 1:21-cv-01773-TSC Document 13-1 Filed 02/01/22 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

GOCE GLIGOROV,

V.

NATION OF BRUNEI, et al.,

Plaintiff,

21-cv-1773

Defendants.

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DECLARATION IN SUPPORT OF ADMISSION PRO HAC VICE OF

W. BAKER GERWIG, IV

I make the following declaration subject to the penalty of perjury:

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2.

to

My name is W. Baker Gerwig, IV.

My office address is Stokes Wagner, ALC, One Atlantic Center, Suite 2615,

1201 W. Peachtree Street, NW, Atlanta, Georgia 30309.

I am admitted to the following bars and courts:

State of Tennessee

State of Georgia

United States District Court for the Eastern District of Tennessee.

I certify that I have not been disciplined by any bar.

I have not been admitted pro hac vice to this Court within the past two years.
I do not engage in the practice of law from an office located in the District of

Columbia.
Case 1:21-cv-01773-TSC Document 13-1 Filed 02/01/22 Page 2 of 2

7. I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 1, 2022

 

 

W. Baker Gerwig< IV
